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O PS 8
(5/04)


                               UNITED STATES DISTRICT COURT
                                                             for
                                            Eastern District of Washington


U.S.A. vs.                 Morefield, Levi Lawrence                      Docket No.           0980 2:13CR02113-001


                                 Petition for Action on Conditions of Pretrial Release

        COMES NOW Stephen Krous, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Levi Lawrence Morefield, who was placed under pretrial release supervision by the Honorable U.S. Magistrate
Judge James P. Hutton sitting in the court at Yakima, Washington, on the 18th day of September 2013, under the following
conditions:

Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled substances,
defined in 21 U.S.C § 802, unless prescribed by a licensed medical practitioner.
Condition #28: Defendant shall submit to any method of testing required by the Pretrial Service Office for determining
whether the defendant is using a prohibited substance. Such methods may be use with random frequency and include urine
testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening
or testing. Defendant shall refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency
and accuracy of prohibited substance testing.

Condition #24: Defendant shall undergo a substance abuse evaluation and follow recommended treatment.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: The defendant is alleged to be in violation of his pretrial release by using, marijuana, methamphetamine, and
heroin on or about February 9, 2014, and/or during that weekend. He provided a urine sample on March 31, 2014, that was
presumptive positive for opiates. The lab results are pending.

Violation #2: The defendant, on February 10, 2014, attempted to obstruct or tamper with his urine specimen by using an
apparatus known as a Whizzinator. He admitted to attempting to use the item to effect the outcome of his sample. He
relinquished the item to the urine collection vendor.

Violation #3: The defendant entered inpatient treatment on March 31, 2014, in Spokane, Washington. He was terminated
and discharged from the program for rule violations on April 3, 2014.

                             PRAYING THAT THE COURT WILL ORDER A WARRANT

                                                                           I declare under the penalty of perjury
                                                                           that the foregoing is true and correct.
                                                                           Executed on:       April 3, 2014
                                                                   by      s/Stephen Krous
                                                                           Stephen Krous
                                                                           U.S. Pretrial Services Officer
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THE COURT ORDERS

[   ]      No Action
[   ]      The Issuance of a Warrant
[   ]      The Issuance of a Summons
[   ]      Other
                                                                     s/ Fred Van Sickle

                                                                Signature of Judicial Officer

                                                                       4/4/14
                                                                Date
